                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

CASE NO. 21-mj-00010-STV

UNITED STATES OF AMERICA,

              Plaintiff,

v.

ROBERT GIESWEIN,

            Defendant.
______________________________________________________________________________

                          NOTICE OF APPEARANCE
______________________________________________________________________________

       The Office of the Federal Public Defender, through undersigned counsel, Assistant Federal

Public Defender Matthew K. Belcher, enters its appearance on behalf of the Defendant, Robert

Gieswein.


                                            Respectfully submitted,

                                            VIRGINIA L. GRADY
                                            Federal Public Defender



                                            /s/ Matthew K. Belcher
                                            MATTHEW K. BELCHER
                                            Assistant Federal Public Defender
                                            633 17th Street, Suite 1000
                                            Denver, Colorado 80202
                                            Telephone: (303) 294-7002
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                                 CERTIFICATE OF SERVICE

        I certify that on January 19, 2021, I electronically filed the foregoing Notice of Appearance
with the Clerk of Court using the CM/ECF system, which will send notification of such filing to
the following email address:

       Daniel Robert McIntyre, Assistant U.S. Attorney
       Email: daniel.mcintyre@usdoj.gov

and I will serve the document or paper to the following non-CM/ECF participants in the manner
indicated:

       Robert Gieswein
       via mail


                                              /s/ Cecilia Hernandez
                                              Cecilia Hernandez, Legal Assistant
                                              Office of the Federal Public Defender




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